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                      UNITED STATES DISTRICT COURT                                   OCT 28 2014
                    SOUTHERN DISTRICT OF CALIFORNIA                       t....__ ~~~'"-""",., .,"''"' ' .....~"~~~
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UNITED STATES OF AMERICA,                  CASE NO. 1 3CR34?9-WQH

                     Plaintiff,
              vs.                          JUDGMENT OF DISMISSAL
KIMBERLY SINAI NOVELO,

                     Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

    an indictment has been filed in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

    the Court has granted the motion of the Government for dismissal, with
    prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the               fendant not
     guilty; or

     the jury has returned      s verdict, finding the defendant not guilty;

~    of the offense(s) as charged in the Information:

     8 USC 1324 (A) (1) (II) and (v) (II) - Transportation of Illegal Aliens

     and   ding and Abetting

           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 10/28/14


                                                 Magistrate Judge
